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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:14−cr−00287
                                                       Honorable Charles R. Norgle Sr.
James J Carroll, et al.
                                        Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 15, 2022:


         MINUTE entry before the Honorable Charles R. Norgle as to James J Carroll:
Emergency motion to continue sentencing hearing [430] is granted. In−person sentencing
is set for 4/14/2022 at 10:30 a.m. Mailed notice (cp, )




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